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                                          U.S. Department of Justice
[Type text]
                                                 United States Attorney
                                                 Southern District of New York

                                                 The Silvio J. Mollo Building
                                                 One Saint Andrew’s Plaza
                                                 New York, New York 10007


                                                 July 24, 2023

BY ECF

Honorable Lewis A. Kaplan
United States District Judge
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, NY 10007-1312

       Re:    United States v. Samuel Bankman-Fried, S5 22 Cr. 673 (LAK)

Dear Judge Kaplan:

       Pursuant to the Court’s order on July 21, 2023 (Dkt. 177), the Government submits the
enclosed proposed order to govern extrajudicial statements under SDNY Local Criminal Rule
23.1(h), and will be prepared to address at the July 26, 2023 conference the adequacy and
continuation of the current bail conditions.



                                          Respectfully submitted,

                                          DAMIAN WILLIAMS
                                          United States Attorney

                                      by: /s/ Danielle R. Sassoon
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Cc:    Defense Counsel (by ECF)
